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                  Exhibit A
                       Case 4:21-cv-00021-HLM-WEJ Document 1-1 Filed 01/26/21 Page 2 of 10
                                                                                                         ~ EFILED IN OFFICE
'"1 - -   '
                                                                                                      CLERK OF SUPERIOR COURT
                                                                                                      WHITFIELD COUNTY, GEORGIA
                                                                                                           20CI01646
                                    IN THE SUPERIOR COURT OF WHITFIELD COUNTY                           WILLIAM T. BOYETT
                                                                                                       DEC 24, 2020 01 :19 PM
                                                 STATE OF GEORGIA
                                                                                                                   -   ~
                                                                                                         ~ elica Kend rick, Cieri<
                ELIZABETH NGUGI,                              )                                            Whitfield County, Georg ia


                     Plaintiff,                               )
                V.                                            )       CML ACTION FILE NO.
                                                              )
                SHAW INDUSTRIES GROUP, INC                    )       JURY TRIAL DEMANDED
                    Defendant.                                )


                                 COMPLAINT FOR EMPLOYMENT DISCRIMINATION

                        Plaintiff Elizabeth Ngugi (hereinafter "Plaintiff' or "Ms. Ngugi"), by and through her

               undersigned counsel, alleges the following against Defendant Shaw Industries Group, Inc

               (hereinafter "Defendant" or "Shaw"):


                                                   NATURE OF THE ACTION
                       This is an action relief and damages to redress Defendant's unlawful employment

               practices against Plaintiff, including its discriminatory treatment and harassment of Plaintiff due

              to her sex, and its unlawful retaliation against her after she complained about unlawful

              discrimination in the workplace in violation Title VII of the Civil Rights Act of 196, as amended.

              Defendant discriminated against Ms. Ngugi by terminating her employment because she

              exercised her rights under Title VII.


                                                 JURISDICTION AND VENUE
                     1.This action is brought for discrimination in employment pursuant to Title VII of the Civil

              Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17. Jurisdiction of this Court is

              invoked under state law pursuant to GA Code §45-19-20.

                     2.Venue is proper in this county pursuant to GA Code §14-2-510 because Defendant

              maintains its registered office and principal place of business in this county.


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                                              PARTIES
      3.Plaintiff, Elizabeth Ngugi, is a resident of Bartow County, Georgia. At all relevant times,

 Plaintiff is and has been a resident of the State of Georgia and met the definition of an

 "employee" under all applicable statutes.

      4.Upon information and belief, Defendant Shaw Industries Group, Inc is a flooring

manufacturer with principal offices located in Whitfield County, Georgia at 616 E. Walnut

Avenue, Dalton, GA 30722. At all relevant times, Defendant has met the definition of an

"employer" under all applicable statutes.


                                    FACTUAL ALLEGATIONS
        5.      Plaintiff is a female former employee of Shaw. She was employed by Shaw on or

about August 25, 2010 to March 2019 as a Production Employee.

        6.     Plaintiff reported to Mr. Kennedy Waweru as her supervisor.

        7.     On or about February 25, 2019, Plaintiff was harassed and intimidated by her

supervisor Mr. Waweru who stated he was going to get her fired in favor of a male employee.

Mr. Waweru informed Plaintiff that he had already found a male employee to replace her. Mr.

Waweru harassed and intimidated Plaintiff by grabbing her arm.

       8.      Plaintiff reported the incident to her manager and Mr. Waweru's superior.

Plaintiff was advised to move to a different department. Mr. Waweru was later suspended for

two days pending an investigation into the incident.

       9.      Approximately two weeks after Mr. Waweru returned to work, Plaintiff's

employment with Shaw was terminated based on "violation of company rules." Plaintiff was

replaced by a male employee as promised by Mr. Waweru.

       10.     Prior to her termination, Plaintiff's performance with Shaw was satisfactory.



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       Case 4:21-cv-00021-HLM-WEJ Document 1-1 Filed 01/26/21 Page 4 of 10




                                  FIRST CLAIM FOR RELIEF
                                           (Retaliation)
        11.     Defendant has violated Title VII, 42 U.S.C. § 2000e-2 by terminating the

employment of Ms. Ngugi as retaliation for her protected complaints and opposition to Mr.

Waweru's actions on the basis of sex. The effect of the events described above has been to

deprive Ms. Ngugi of equal employment opportunities in retaliation for exercising her federally

protected rights.

        12.     As a direct and proximate result of Defendant's unlawful retaliatory conduct in

violation of Title VII, Plaintiff has suffered and continues to suffer monetary and/or economic

damages, including, but not limited to, loss of past and future income, compensation and benefits

for which she is entitled to an award of monetary damages and other relief.

        13.    As a direct and proximate result of Defendant's unlawful retaliatory conduct in

violation of Title VII, Ms. Ngugi has suffered and continues to suffer severe mental anguish and

emotional distress, including, but not limited to, depression, humiliation, embarrassment, stress

and anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering for which

she is entitled to an award of monetary damages and other relief.

       14.     Defendant's unlawful retaliatory conduct constitutes a willful and wanton

violation of Title VII, was malicious and made with reckless indifference to her protected rights,

and was intended to injure Plaintiff, entitling Plaintiff to an award of punitive damages.


                               PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

Defendant, and including the following relief:

   A. A declaratory judgment that the actions, conduct and practices of Defendant complained

       of herein violate the laws of the United States and the State of Georgia;


                                                 3
       Case 4:21-cv-00021-HLM-WEJ Document 1-1 Filed 01/26/21 Page 5 of 10




     B. A permanent injunction enjoining Defendant from engaging in any employment practice

         which retaliates against employees who complain about discrimination;

     C. An award of damages, in an amount to be determined at trial, to make Ms. Ngugi whole

        by providing appropriate backpay with prejudgment interest, and other affirmative and

        equitable relief necessary to eradicate the effects of its unlawful employment practices,

        including but not limited to, rightful-place reinstatement or front pay;

     D. An award of damages, in an amount to be determined at trial, to make Ms. Ngugi whole

        by compensating for all monetary and/or economic damages including, but not limited to,

        the loss of past and future income, wages, compensation, job security and other benefits

        of employment, with prejudgment interest;

 E. An award of damages, in an amount to be determined at trial, to make Ms. Ngugi whole

        by compensating for all non-monetary and/or compensatory damages, including, but not

        limited to, compensation for her severe mental anguish and emotional distress,

        humiliation, depression, embarrassment, stress and anxiety, loss of self-esteem,

       self-confidence and personal dignity, and emotional pain and suffering and any other

       physical or mental injuries, with prejudgment interest;

F. An award of punitive damages, in an amount to be determined at trial, for Defendant's

       malicious and willful conduct;

G. An award of costs Plaintiff has incurred in this action, as well as Plaintiffs reasonable

       attorneys' fees;

H. Allowance to amend this complaint to avoid manifest injustice; and
                                                                                                    I
I.     Any other relief as the Court may deem just and proper.
                                                                                                    I


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     Case 4:21-cv-00021-HLM-WEJ Document 1-1 Filed 01/26/21 Page 6 of 10




                                    JURY TRIAL DEMAND

      Plaintiff hereby requests a trial by jury on all issues of fact and damages raised by her
Complaint.

Dated December 24, 2020
                                                                          Respectfully submitted,

                                                                             !sf7{{$:am,.#. Ytkb
                                                                             WILLIAM A. TIKU
                                                                             Counsel for Plaintiff
                                                                          Tiku & Associates, P.C.
                                                                     2470 Windy Hill Rd Ste 116
                                                                             Marietta, GA 30067
                                                                        tiku@tikuassociates.com
                                                                                 (770) 272-9470




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      EEOC Form 161 (11/16)                                                                                             ~ EFILED IN OFFICE
                                             U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                                      CLERK OF SUPERIOR COURT
                                                                                                                      WHITFIELD COUNTY, GEORGIA
                                                     DISMISSAL AND NOTICE OF RIGHTS
                                                                                                                             2QCIQ1646
      To:   Elizabeth Ngugl                                                               From:   Atlanta District Office WILLIAM T. BOYETT
            26 Ponders Road, S.E.                                                                 100 Alabama Street, §.'vf. 24, 2020 01:19 PM
            Cartersville, GA 30121                                                                Suite 4R30                      . ~
                                                                                                  Atlanta, GA 30303       ~eUCaKaridfick.C1erk
                                                                                                                                 Whitfield County, Georgia



            D                   On behalf of person/s) aggrieved whose Identity Is
                                CONFIDENT/AL (29 CFR §1801.7(s»
      EEOC Charge     No.                       EEOC Representative                                                     Telephone No.
                                                   Robyn Conley,
  410-2019-04658                                   Investigator                                                         (404) 562-6856
  THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
            D        The facts alleged in the charge fall to state a claim under any of the statutes enforced by the EEOC.

            D        Your allegations did not involve a disability as defined by the Americans Wth Disabilities Act

            D        The Respondent employs less than the required number of employees or is not otherwise covered by the slatutes.

            D        Your charge was not timely filed with EEOC; In other words, you waited too long after the cfate(s) of the alleged
                     discrimination to file your charge
            W        The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                     Information oblained eslablishes Violations of the slatutes. This does not certify that the respondent is in compliance with
                     the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
        D            The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

        D           Other (brieffy state)


                                                           • NOTICE OF SUIT RIGHTS •
                                                     /See the addnlonsl information attached to this fonn.)

 Tille VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
 Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you,
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years {3 years)
before you file suit may not be collectible.

                                                                      On behalf of the Commission




Enclosures(s)                                                                                                                (Dale Mailed)
                                                                    Darrell E. Graham,
                                                                     District Director
cc:
             Brandon Springle                                                         William Tiku, Esq.
             Shaw Industries, Inc.                                                    2470 Wlndyhlll Rd
             Dalton, Georgia 30722                                                    Sulte116
                                                                                      Marietta, GA 30067
               Case 4:21-cv-00021-HLM-WEJ Document 1-1 Filed 01/26/21 Page 8 of 10
                                                                                           ;;~ EFILED IN OFFICE
                       General Civil and Domestic Relations Case Filing Information Form:;LERK OF SUPERIOR COURT
                                                                                                                                 WHITFIELD COUNTY, GEORGIA
                           li2l   Superior or D State Court of....:w"'h"'it"-'f'-=i-"'el"'ct'-_________ County                           20Cl01646
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         For Clerk Use Only

        Date Filed 12-24-2020                                      Case Number2,°.Q;0C!:IU0l.l1..f6iJ14.Ji6
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                                                                                                                                                Whltfield County, G    rgla
                       MM-DD-VYVY

Plaintiff(s)                                                          Defendant(s)
NGUGI, ELIZABETH                                                      SHAW INDUSTRIES GROUP,                     INC
Last           First              Middle I.    Suffix     Prefix       Last                  First                  Middle I.        Suffix           Prefix


Last           First              Middle I.    Suffix     Prefix       Last                  First                  Middle I.        Suffix          Prefix


Last           First              Middle I.    Suffix    Prefix        Last                  First                  Middle I.        Suffix          Prefix


Last           First              Middle I.    Suffix    Prefix        Last                  First                  Middle I.        Suffix          Prefix

Plaintiff's Attorney Tiku, William                                       Bar Number           142256                       Self-Represented D

                           Check one case type and, if applicable, one sub-type in one box.

        General Civil Cases                                                   Domestic Relations Cases
         D     Automobile Tort                                                D          Adoption
         D     Civil Appeal                                                   D          Contempt
         D     Contract                                                                  D Non-payment of child support,
        D      Contempt/Modification/Other                                               medical support, or alimony
               Post-Judgment                                                  D          Dissolution/Divorce/Separate
        D      Garnishment                                                               Maintenance/Alimony
        D      General Tort                                                   D          Family Violence Petition
        D      Habeas Corpus                                                  D          Modification
        D      Injunction/Mandamus/Other Writ                                            D Custody/Parenting TimeNisitation
        D      Landlord/Tenant                                                D          Paternity/Legitimation
       D       Medical Malpractice Tort                                       D          Support - IV-D
       D       Product Liability Tort                                         D          Support - Private (non-IV-DJ
       D       Real Property                                                  D          Other Domestic Relations
       D      Restraining Petition
       liZI   Other General Civil

D      Check if the action is related to another action(s) pending or previously pending in this court involving some or all
       of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                Case Number                                        Case Number

       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
       redaction of personal or confidential information in O.CG.A. § 9-11-7.1.

D      Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

        _ _ _ _ _ _ _ _ _ _ _ Language(s) Required

D      Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                                      Version 1.1.20
Case 4:21-cv-00021-HLM-WEJ Document 1-1 Filed 01/26/21 Page 9 of 10
                                                                                           ~ EFILED IN OFFICE
           SUPERIOR COURT OF WHITFIELD COUNTY                                           CLERK OF SUPERIOR COURT
                                                                                        WHITFIELD COUNTY, GEORGIA
                    STATE OF GEORGIA
                                                                                              20CI01646
                                                                                           WILLIAM T. BOYETT
                                                                                          DEC 24, 2020 01:19 PM

                                                                                                      -~
                                                                                            ~ e l l c a Kendrick, Clerk
                                                                                                  Whltfle!d County, Georgia




               CNIL ACTION NUMBER 20CI01646
 NGUGI, ELIZABETH

 PLAINTIFF
                                             vs.
 SHAW INDUSTRIES GROUP, INC

DEFENDANT


                             SUMMONS
TO: SHAW INDUSTRIES GROUP, INC

You are hereby summoned and required to file with the Clerk of said conrt and serve upon the
Plaintiffs attorney, whose name and address is:

                          William Tlku
                          Tiku and Associates, P.C.
                          2470 Windy Hill Road, Ste. 116
                          Marietta, Georgia 30067

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If this action pertains to a Protective
Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
If you fail to do so, judgment by default will be taken against you for the relief demanded in
the complaint.

This 24th day of December, 2020.
                                                   Clerk of Superior Court




                                                               -~
                                               ~ e l i c a Kendrick, Clerk
                                                     Whitfield County, Georgia




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Case 4:21-cv-00021-HLM-WEJ Document 1-1 Filed 01/26/21 Page 10 of 10

                                                            CLERK OF SUPERIOR COURT
                                                            WHITFIELD COUNTY, GEORGIA
                                                                20CI01646
                                                              WILLIAM T. BOYETT
                                                             DEC 30, 2020 02:25 PM
